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_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
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             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                               CHAPTER 13 CASE NO.:

ANNIE D. LESTER                                                 13-13867-JDW

                          FINAL ORDER OF DISMISSAL

      THIS MATTER came before the Court upon the Debtor’s failure to comply

with Agreed Order Denying Motion to Dismiss (Dkt. #67) (Dkt. #72), and the Court

being advised that the Debtor has become more than 30 days delinquent in Chapter

13 plan payments.

      IT IS THEREFORE ORDERED that this case shall be and is hereby

dismissed.

                                ##END OF ORDER##

SUBMITTED BY:

/s/ Melanie T. Vardaman
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